Case 2:21-cv-04569-JAK-KS            Document 38 Filed 09/18/23              Page 1 of 5 Page ID
                                           #:326



MORRPRES TRUST
5760 Lindero Canyon Rd., 1035
Westlake Village, CA 91362
Subject: Notice to Cease and Desist of Unauthorized Use of Assumed Name Certificate
Case#: 2:21-cv-04569-JAK-(KSx)

Internal Revenue Service
8/28/2023 attn:AFC Bryan Starek                                                     ~~'     •   I~~~
801 Civic Center Drive, Suite 218
Santa Ana, CA 92701
                                                                             BY
  am writing to you regarding your unauthorized use of my assumed name certificate,
PATRICIA JEAN MORRIS LEI #549300WAODOBV4AFDP63, 5760 Lindero Canyon Rd., 1035
Westlake Village, CA 91362, in Los Angeles County. It has come to my attention that you are
conducting business under the same or similar name, which is causing confusion among
consumers and infringing upon my rights.

  hold a valid assumed name certificate file# 1290216600023 proof of publication (2015.5
C.C.P.) February 17, 2022 in Los Angeles County, which establishes my exclusive right to use
the name PATRICIA JEAN MORRIS. This name is an integral part of my business identity and
represents the goodwill and reputation I have built in the marketplace. Your use of the name
PATRICIA JEAN MORRIS is likely to cause confusion among consumers, leading them to
believe that your business is affiliated with or endorsed by my company. This unauthorized use
is in violation of my rights and is causing harm to my business. I demand that you immediately
cease and desist from any use of the name PATRICIA JEAN MORRIS. You must remove all
references to this name from your business operations, including but not limited to your website,
signage, advertising materials, mail correspondence and any other platforms where it is being
used. Failure to comply with this demand will leave me with no choice but to pursue legal action
to protect my rights. This may include seeking injunctive relief, damages, and any other
remedies available under the law.

 expect to receive a written response from you within 3 business days confirming that you have
ceased all use of the name PATRICIA JEAN MORRIS. Please be aware that any further delay
or non-compliance will be viewed as a willful infringement and I will take appropriate legal action
without further notice.

This letter is not intended to be a complete statement of the facts or laws related to this matter
and nothing contained herein should be construed as an admission of liability or waiver of any
rights or remedies.

Thank you for your immediate attention to this matter.
Sincerely,
MORRPRES TRUST (Name Holder)
5760 Lindero Canyon Rd., 1035
Westlake Village, CA. 91362
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9/13/23, 12:56 PM                                              #:328
                                                                   Business Filing Details




 Business Record Details

Minnesota Business Name
PATRICIA JEAN MORRIS


Business Type                                                                MN Statute
 Assumed Name                                                                 333

File Number                                                                  Home Jurisdiction
 1290216600023                                                                Minnesota

Filing Date                                                                 Status
 1/18/2022                                                                    Active / In Good Standing

Renewal Due Date                                                             Principal Place of Business Address
 12/31/2023                                                                   5760 Lindero Canyon Rd.#1035
                                                                              Westlake Village, CA 91362
                                                                              USA


 Nameholder                            Nameholder Address

 MORRPRES TRUST                        5760 Lindero Canyon Rd.#1035,Westlake Village, CA 91362




     Filing History


   Filing History

  Select the items)you would like to order: Order Selected Copies

    U           Filing Date            Filing                                                                 Effective Date

  (~            1/18/2022             Original Filing -Assumed Name
                                      (Business Name: PATRICIA JEAN MORRIS)




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